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                       IN THE UNITED STATES DISTRICT COURT
                        THE WESTERN DISTRICT OF NEW YORK

  LACKAWANNA CHIROPRACTIC P.C., a                    Case No. 1:18-cv-00649-LJV
  New York professional corporation,
  individually and on behalf of all others
  similarly situated,
                                                     CLASS ACTION
                      Plaintiff,

                          v.

  TIVITY HEALTH SUPPORT, LLC, a
  Delaware limited liability company,

                     Defendant.


             [PROPOSED] ORDER PRELIMINARILY APPROVING
   CLASS ACTION SETTLEMENT AND CERTIFYING THE SETTLEMENT CLASS

       Plaintiff Lackawanna Chiropractic P.C., on behalf of itself and a class of similarly situated

persons, and Defendant Tivity Health Support, LLC (referred to as “Tivity” or “Defendant”), have

agreed to settle this Action pursuant to the terms and conditions set forth in an executed Settlement

Agreement dated as of March 6, 2020 (“Settlement Agreement” or “Agreement”). The Parties

reached the Settlement through arm’s-length negotiations. Under the Settlement, subject to the

terms and conditions therein and subject to Court approval, Plaintiff and the other Releasing Parties

will fully, finally, and forever resolve, discharge, and release the Released Claims against the

Released Parties.

       The Settlement has been filed with the Court, and Plaintiff and Class Counsel have filed a

Motion for Preliminary Approval of Modified Class Action Settlement (“Motion”). Upon

considering the Motion, the Settlement and all exhibits thereto, the record in these proceedings,

the representations and recommendations of counsel, and the requirements of law, the Court finds

that: (1) this Court has jurisdiction over the subject matter and the Parties to this Action; (2) the

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proposed Settlement Class meets the requirements of Federal Rule of Civil Procedure 23 and

should be certified for settlement purposes only; (3) the persons and entities identified below

should be appointed Class Representative and Class Counsel; (4) the Settlement is the result of

informed, good-faith, arm’s-length negotiations between the Parties and their capable and

experienced counsel, and is not the result of collusion; (5) the Settlement is within the range of

reasonableness and should be preliminarily approved; (6) the proposed Notice Program and

proposed forms of Notice satisfy Federal Rule of Civil Procedure 23 and constitutional due process

requirements, and are reasonably calculated under the circumstances to apprise the Settlement

Class of the pendency of the Action, class certification, terms of the Settlement, Class Counsel’s

application for an award of attorneys’ fees and expenses (“Fee Application”) and request for a

Service Award for Plaintiff, and their rights to opt-out of the Settlement Class or object to the

Settlement, Class Counsel’s Fee Application, and/or the request for a Service Award for Plaintiff;

(7) good cause exists to re-open and stay the Action pending Final Approval of the Settlement; (8)

good cause exists to schedule and conduct a Final Approval Hearing, pursuant to Federal Rule of

Civil Procedure 23(e), to assist the Court in determining whether to grant Final Approval of the

Settlement and enter the Final Approval Order, and whether to grant Class Counsel’s Fee

Application and request for a Service Award for Plaintiff; and (9) the other related matters

pertinent to the Preliminary Approval of the Settlement should also be approved.

       Based on the foregoing, IT IS HEREBY ORDERED AND ADJUDGED as follows:

       1. As used in this Preliminary Approval Order, unless otherwise noted, capitalized terms

shall have the definitions and meanings accorded to them in the Settlement.

       2. The Court has jurisdiction over the subject matter and Parties to this proceeding pursuant

to 28 U.S.C. §§ 1331, 1332.



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       3. Venue is proper in this District.

  Provisional Class Certification and Appointment of Class Representative and Class Counsel

       4. It is well established that “[T]he ‘settlement only’ class has become a stock device in

modern class action litigation.” In re American International Group, Inc. Securities Litigation, 689

F.3d 229, 238 (2d Cir. 2012). In deciding whether to provisionally certify a settlement class, a

court must consider the same factors that it would consider in connection with a proposed litigation

class – i.e., all Rule 23(a) factors and at least one subsection of Rule 23(b) must be satisfied –

except that the Court need not consider the manageability of a potential trial, since the settlement,

if approved, would obviate the need for a trial. Amchem Products, Inc. v. Windsor, 521 U.S. 591,

620 (1997).

       5. The Court finds, for settlement purposes, that the Federal Rule of Civil Procedure 23

factors are present and that certification of the proposed Settlement Class is appropriate under Rule

23. The Court therefore provisionally certifies the following Settlement Class.

               All individuals and entities within the United States who were sent
               a Tivity Fax by or on behalf of Tivity recruiting a provider offering
               chiropractic services, physical therapy, occupational therapy,
               speech therapy, acupuncture, massage, and/or complementary and
               alternative medicine (CAM) services to join a Tivity network.
               Excluded from the Settlement Class are: (1) the trial judge presiding
               over this case; (2) Tivity, as well as any parent, subsidiary, affiliate
               or control person of Tivity, and the officers, directors, agents,
               servants or employees of Tivity; (3) any of the Released Parties; (4)
               the immediate family of any such person(s); (5) any member of the
               Settlement Class who has timely opted out of the Settlement; and
               (6) Class Counsel and their employees.

       6. Specifically, the Court finds, for settlement purposes and conditioned on final

certification of the proposed class and on the entry of the Final Approval Order, that the Settlement

Class satisfies the following factors of Federal Rule of Civil Procedure 23:




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       (a) Numerosity: There are hundreds of members of the proposed Settlement Class. The

proposed Settlement Class is so numerous that joinder of all members is impracticable.

       (b) Commonality: “[C]ommonality requires the plaintiff to demonstrate that the class

members ‘have suffered the same injury,’” and the plaintiff’s common contention “must be of such

a nature that it is capable of classwide resolution – which means that determination of its truth or

falsity will resolve an issue that is central to the validity of each one of the claims in one stroke.”

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 131 S. Ct. 2541, 2551 (2011) (citation omitted).

Here, the commonality requirement is satisfied. Multiple questions of law and fact centering on

Defendant’s class-wide practices are common to the Plaintiff and the Settlement Class, are alleged

to have injured all members of the Settlement Class in the same way, and would generate common

answers central to the viability of the claims were this case to proceed to trial.

       (c) Typicality: The Plaintiff’s claims are typical of the Settlement Class because they

concern the same alleged marketing practices of Tivity, arise from the same legal theories, and

allege the same types of harm and entitlement to relief. Rule 23(a)(3) is therefore satisfied. See In

re Drexel Burnham Lambert Grp., 960 F.2d 285, 291 (2d Cir. 1992) (typicality “is satisfied when

each class member’s claim arises from the same course of events, and each class member makes

similar legal arguments to prove the defendant’s liability”).

       (d) Adequacy: Adequacy under Rule 23(a)(4) requires: (1) a plaintiff’s attorney to be

qualified, experienced, and generally able to conduct the proposed litigation; and (2) a plaintiff

must not have interests antagonistic to those of the class. Id. Here, Rule 23(a)(4) is satisfied

because there are no conflicts of interest between the Plaintiff and the Settlement Class, and

Plaintiff has retained competent counsel to represent him and the Settlement Class. Class Counsel

regularly engage in consumer class litigation, complex litigation, and other litigation similar to this



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Action, and have dedicated substantial resources to the prosecution of the Action. Moreover, the

Plaintiff and Class Counsel have vigorously and competently represented the Settlement Class in

the Action.

       (e) Predominance and Superiority: Rule 23(b)(3) is satisfied because the common legal and

alleged factual issues here predominate over individualized issues, and resolution of the common

issues for the members of the Settlement Class in a single, coordinated proceeding is superior to

thousands of individual lawsuits addressing the same legal and factual issues. Rule 23(b)(3)’s

predominance requirements test “whether proposed classes are sufficiently cohesive to warrant

adjudication by representation. The requirement’s purpose is to ensure that the class will be

certified only when it would achieve economies of time, effort, and expense, and promote

uniformity of decision as to persons similarly situated, without sacrificing procedural fairness or

bringing about other undesirable results.” In re Am. Int'l Grp. Sec. Litig., 689 F.3d 229, 239-40 (2d

Cir. 2012) (internal citation omitted). Here, common questions present a significant aspect of the

case and can be resolved for all members of the Settlement Class in a single adjudication. In a

liability determination, those common issues would predominate over any issues that are unique

to individual members of the Settlement Class. Moreover, each member of the Settlement Class

has claims that arise from the same or similar alleged marketing practices of Tivity as well as the

same legal theories.

       7. The Court appoints Plaintiff, Lackawanna Chiropractic, P.C., as Class Representative.

       8. The Court appoints the following people and firms as Class Counsel: Avi R. Kaufman

of Kaufman P.A. and Stefan Coleman of Law Offices of Stefan Coleman, P.A.

       9. The Court recognizes that Defendant reserves its defenses and objections against and

right to oppose any request for class certification in the event that the proposed Settlement does



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not become final for any reason. Defendant also reserves its defenses to the merits of the claims

asserted in the event the Settlement does not become final for any reason.

                              Preliminary Approval of the Settlement

       10. At the preliminary approval stage, the Court’s task is to evaluate whether the Settlement

is within the “range of possible approval.” Davis v. J.P. Morgan Chase & Co., 775 F. Supp. 2d

601, 607 (W.D.N.Y. 2011); 4 Newberg on Class Actions § 11.26. Settlement negotiations that

involve arm’s length, informed bargaining with the aid of experienced counsel support a

preliminary finding of fairness. See Manual for Complex Litigation, Third, § 30.42 (West 1995)

(“A presumption of fairness, adequacy, and reasonableness may attach to a class settlement

reached in arm's-length negotiations between experienced, capable counsel after meaningful

discovery.”) (internal quotation marks omitted).

       11. The Court preliminarily approves the Settlement, together with all exhibits thereto, as

fair, reasonable, and adequate. The Court finds that the Settlement was reached in the absence of

collusion, is the product of informed, good-faith, arm’s-length negotiations between the Parties

and their capable and experienced counsel. The Court further finds that the Settlement, including

the exhibits thereto, is within the range of reasonableness and possible judicial approval, such that:

(a) a presumption of fairness is appropriate for the purposes of preliminary settlement approval;

and (b) it is appropriate to effectuate notice to the Settlement Class, as set forth below and in the

Settlement, and schedule a Final Approval Hearing to assist the Court in determining whether to

grant Final Approval to the Settlement and enter a Final Approval Order.

                        Approval of Class Notice and the Notice Program

       12. The Court approves the form and content of the Notice and Claim Form, substantially

in the forms attached as Exhibits 1 through 3 to the Settlement. The Court further finds that the



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Notice Program described in the Settlement is the best practicable under the circumstances. The

Notice Program is reasonably calculated under the circumstances to inform the Settlement Class

of the pendency of the Action, certification of a Settlement Class, the terms of the Settlement,

Class Counsel’s Fee Application and the request for Service Award for Plaintiff, the claim process,

and their rights to opt-out of the Settlement Class or object to the Settlement. The Notices and

Notice Program constitute sufficient notice to all persons entitled to notice. The Notices and Notice

Program satisfy all applicable requirements of law, including, but not limited to, Federal Rule of

Civil Procedure 23 and the Constitutional requirement of due process.

       13. Angeion Group shall serve as the Settlement Administrator.

       14. The Administrator shall implement the Notice Program, as set forth below and in the

Settlement, and the Claims Process using the Notices and Claim Form substantially in the forms

attached as Exhibits to the Settlement and approved by this Preliminary Approval Order. Notice

shall be provided to the members of the Settlement Class pursuant to the Notice Program, as

specified in the Settlement and approved by this Preliminary Approval Order. The Notice Program

shall include Mail Notice and Long-Form Notice, as set forth in the Settlement and below.

       15. The Administrator shall administer Mail Notice as set forth in the Settlement. Mail

Notice shall be completed no later than 45 days prior to the Final Approval Hearing.

       16. The Administrator shall establish a Settlement Website as a means for Settlement Class

members to obtain notice of, and information about, the Settlement. The Settlement Website shall

be established as soon as practicable following Preliminary Approval, but no later than before

commencement of the Notice Program. The Settlement Website shall include hyperlinks to the

Settlement, the Long-Form Notice, the Preliminary Approval Order, and other such documents as




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Class Counsel and counsel for Defendant agree to include. These documents shall remain on the

Settlement Website at least until the Final Approval Hearing.

       17. The Administrator is directed to perform all substantive responsibilities with respect to

effectuating the Notice Program and claims process, as set forth in the Settlement.

                       Final Approval Hearing, Opt-Outs, and Objections

       18. A Final Approval Hearing shall be held before this Court on ___________ ___, 2020

at ____ __.m. to determine whether to grant Final Approval to the Settlement and to enter a Final

Approval Order, and whether Class Counsel’s Fee Application and request for a Service Award

for the Class Representative should be granted.

       19. Any person within the Settlement Class who wishes to be excluded from the Settlement

may exercise their right to opt-out of the Settlement by following the opt-out procedures set forth

in the Settlement and in the Notice at any time prior to the Opt-Out Deadline. To be valid and

timely, opt-out requests must be received by those listed in the Long-Form Notice on or before the

Opt-Out Deadline, which is 30 days before the Final Approval Hearing, and mailed to the

addresses indicated in the Long Form Notice.

       20. Any Settlement Class member may object to the Settlement, Class Counsel’s Fee

Application, or the request for a Service Award for Plaintiff. Tivity also may object to Class

Counsel’s Fee Application and/or the request for a Service Award. Any such objections must be

mailed to the Clerk of the Court, Class Counsel, and Defendant’s Counsel, at the addresses

indicated in the Long-Form Notice. For an objection to be considered by the Court, the objection

must be postmarked no later than 30 days before the Final Approval Hearing, as set forth in the

Notice. To be valid, an objection must include the following information:

       a) the name of the Action;



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       b) the objector’s full name (or, if a business, business name), address, telephone number,

           and fax number at which the Tivity Fax(es) was (were) received;

       c) an explanation of the basis upon which the objector claims to be a Settlement Class

           Member;

       d) all grounds for the objection, accompanied by any legal support for the objection

           known to the objector or his counsel; and

       e) the objector’s signature (an attorney’s signature is not sufficient).

             Further Papers in Support of Settlement and Attorney’s Fee Application

       21. Plaintiff and Class Counsel shall file their Motion for Final Approval of the Settlement,

Fee Application      and   request   for a Service Award          for Plaintiff,    no   later than

_____________________, which is 45 days before the Final Approval Hearing.

       22. Plaintiff and Class Counsel shall file their responses to timely filed objections to the

Motion for Final Approval of the Settlement, the Fee Application and/or request a Service Award

for Plaintiff no later than ___________________, which is 15 days before the Final Approval

Hearing.

                             Effect of Failure to Approve Settlement

       23. If the Settlement is not finally approved by the Court, or for any reason the Parties fail

to obtain a Final Approval Order as contemplated in the Settlement, or the Settlement is terminated

pursuant to its terms for any reason, then the following shall apply:

       (a) All orders and findings entered in connection with the Settlement shall become null and

void and have no further force and effect, shall not be used or referred to for any purpose

whatsoever, and shall not be admissible or discoverable in any other proceeding;




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       (b) Nothing in this Preliminary Approval Order is, or may be construed as, any admission

or concession by or against Tivity or Plaintiff on any point of fact or law; and

       (c) Neither the Settlement terms nor any publicly disseminated information regarding the

Settlement, including, without limitation, the Class Notice, court filings, orders and public

statements, may be used as evidence. In addition, neither the fact of, nor any documents relating

to, either Party’s withdrawal from the Settlement, any failure of the Court to approve the

Settlement and/or any objections or interventions may be used as evidence.

                                  Stay/Bar of Other Proceedings

       24. The Action is re-opened and all proceedings in the Action are stayed until further order

of the Court, except as may be necessary to implement the terms of the Settlement. Pending final

determination of whether the Settlement should be approved, Plaintiff, all persons in the Settlement

Class, and persons purporting to act on their behalf are enjoined from commencing or prosecuting

(either directly, representatively or in any other capacity) against any of the Released Parties any

action or proceeding in any court, arbitration forum or tribunal asserting any of the Released

Claims.

       25. Based on the foregoing, the Court sets the following schedule for the Final Approval

Hearing and the actions which must take place before and after it:

                     Event                                              Date
 Deadline for Completion of Mailed Notice          45 days prior to the Final Approval Hearing
 Program
 Deadline for filing papers in support of Final    No later than 45 days prior to the Final
 Approval of the Settlement and Class              Approval Hearing
 Counsel’s application for an award of
 attorneys’ fees and expenses
 Opt-Out and Objection Deadline                    30 days prior to the Final Approval Hearing


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Responses to Objections                 15 days prior to the Final Approval Hearing
The Final Approval Hearing              At least 90 days after Preliminary Approval
Claims Deadline                         14 days after the Final Approval Hearing

     DONE AND ORDERED in Buffalo, New York this __ day of March, 2020.


                                           ____________           _________________
                                           Lawrence J. Vilardo
                                           United States District Court Judge




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